IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
DIVISION

 

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iii
and

§:i

 

Name of Plaintiff

 

Case No.§“' 1 q' 02024
(To be assigned by Clerk)

Jury Demand m Yes m No

 

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Name of ])efendant(s) )

COl\/[PLAINT UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

l. This action is brought pursuant to Title Vll of the Civil Rights Act of 1964, and the Civil
Rights Act of 1991, for employment discrimination Jurisdiction is specifically conferred
upon the Court by 42 U.S.C. § 2000e-5, or, if the Plaintiff is a federal employee, by 42
U.S.C. § 2000e~l6. Relief is sought under 42 U.S.C. § 2000€~5(g) and/or 42 U.S.C. §

 

 

 

l 98 l a(b).
2. Plaintiff, 1 ,Cy(\g>\u< y `j%\\i§<‘e$“ , is a citizen of the United States and resides at
Street address City
:E rev aaa , “i§ ,31;1@7 marsh warsaw
County State Zip Code Telephone Number

3. Defendant, \\\i`\\/<\’/\`\ 11?>%\>¢~@14 §1§(>@,7\)&“;\¢¢ ¥§m§#§<resides at, or its business is located at

/)DOU C/@//Q¢ér)/WC;/ greif , §@1):/4?//& ,

 

 

Street address City
1 f »,
®U\/ifi xiv , /iit , § 738§<

COUll'fY State Zip Code

Case 3:17-cV-00278 Document 1 Filed 02/13/17 Page 1 of 27 Page|D #: 1

 

l

(lf more than ne Defendant, list the name aug address of each additional efendant)
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Plaintiff sought employment from the Defendant or Was employed by the Defendant at

> " >

Street address l ' City
/ / t

 

County State Zip Code

Defendant discriminated against a` i in the manner indicated in paragraphs 8 and 9 of
,§§i

this Complaint on or about K\/ - \ 3 0 l (Q.
Month Day Yea.r

Plaintifffiled charges against the Defendant With the Tenn'essee Human Rights Commission
or the Equal Employment Opportunity Commission charging the Defendant With the acts of
discrimination indicated in paragraphs 8 and 9 of this Complaint on or about

 

Month Day Year

The Equal Employment Opportunity Commission or the United States Department of]ustice

issued a Notice of Right to Sue Which Was received by Plaintiff on ®S:i
onth

get § C>\ LQ , a copy of Which Notice is attached
Day Year

Because of Plaintiff s (l) race, (2) color, (3) § :§:x,

(4) religion, (5) national origin, the Defendant:

Case 3:17-cV-00278 Document 1 Filed 02/13/17 Page 2 of 27 Page|D #: 2

 

a. failed to employ Plaintiff.

b. terminated Plaintiff’ s employment

c. g y failed to promote Plaintiff.

d. §§ retaliated against Plaintiff for having filed a charge of discrimination

/

e. §§ other. Explain:

 

 

 

 

 

The circumstances under Which Defendant discriminated against Plaintiff Were as follows:

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(You may use additional paper, if necessary.) 2 55 *;L@i j

lO. The acts set forth in paragraph 8 of this Complaint:

a.~__ 5 are still being committed by Defendant.

 

b. are no longer being committed by Defendant.

c. / may still be being committed by Defendant.

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ll.

Plaintiff attaches to this Complaint a copy of the charges filed With the Tennessee Human
Rights Commission or the Equal Employment Gpportunity Commission, Which charges are
submitted as a brief statement of the facts supporting this Complaint.

WHEREFORE, Plaintiff prays that the Court grant the following relief:

a. direct that Defendant employ Plaintiff, or

b. » direct that Defendant re-employ Plaintiff, or
c. direct that Defendant promote Plaintiff, or
d. order other equitable or injunctive relief:

 

e. 15 / direct that Defendant pay Plaintiff back pay in the amount of

33 L}/ § 6 and interest on back pay;

 

f. direct that Defendant pay Plaintiff compensatory damages: Specify

the amount and basis for compensatory damages:

 

 

g. direct that Defendant pay Plaintiff punitive damages in the amount of

because Defendant engaged in a discriminatory practice or

 

practices With malice or With reckless indifference to Plaintiff’ s federally protected rights,
as described in paragraphs 8 and 9 above; and that the Court grant such other relief as may

be appropriate, including costs and attorney’s fees.

twa _;>WM

(Signature of l’laintift)

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EEQC amana/1a U.S. EQUAL EMPLOYMENT OPPoRTuNiTY CoiviivlissloN

 

DisrviissAL AND NoricE oF RiGHTs

 

TOI Carolyn A. Fluker FrOmf Nashville Area Office
3242 Spears Rd. 220 Athens Way
Nashville, TN 37207 Suite 350

Nashville, TN 37228

 

I: Or) behalf of person(s) aggrieved Whose identity is
CONF/DENT/AL (29 CFR §1601.7(a))
EEOC Charge No. ' EEOC Representative Telephone No.
Deborah K. Walker,
494-2017-00424 Supervisory investigator . (615) 736-2109

 

THE EEOC lS CLOSlNG lTS FlLE ON THlS Cl:lARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americ-ans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge Was not timely Hled with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to ila your charge

HUEUE

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No hnding ls made as to any other issues that might be construed as having been raised by this charge

The EEOC has adopted the findings ofthe state or local fair employment practices'agency that investigated this charge

l:l[]

Other (bn'efly state)

- NoTicE oF suiT RlGHTs -

(See the additional information attached to this fcrm.)

Title Vll, the Americans With Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we Will send you~.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WlTHlN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be ditterent.)

Equal Pay Act (EPA): %§P~AV suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years (3 vear.s)

before you file suit may not be collectible,

 

 

( On behalf otthe/Com ’{ssion ’

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/:/SiM//V 3 q&?/MO !““_'“" d L d
Enclosures($)` n CWVM 331-ah L_ Smith’ (Date Ma//ed)

Area Office Director

CC' cort Ritchie
Human Resource lVlanager
CARLEX GLASS PI.ANT
7200 Centennial Blvd.
Nashville, TN 37209

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EEoc Form 5 (1 1109)

 

 

 

 

 

 

 

CHARGE OF D|SCR|M|NAT\ON Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Actof1974. See enclosed Privacy Act |:] FEPA
Statement and other information before completing this form.
EEoc 494-2017-00424
Tennessee Human Rights Commissio'n . _4 and EEOC
State or local Agency, if any . ' "
Name (indicate Mr., Ms., Mrs.) ' Horne Phone (lnc/. Area Code) Date of Birth
rvirs. carolyn A. Fruker (615) 689-5955 1957

 

 

 

StreetAddress ~ City, State and ZlP Code
3242 Spears Rd., Nashville, TN 37207

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or l_ocal Govemment Agency That | Believe
Discriminated Against l\/le or Others. (/f more than tWo, list under PART/CULARS be/oW.)

 

 

 

 

Name No. Employees. Nlembers Phone No. (lnclude Area Code)
CARLEX GLASS PLANT ‘ ' 500 or lVlore (615) 350-5625
Street Address City, State and ZlP Code

7200 Centennial Blvd., Nashville, TN 37209

 

Name No. Employees, N|embers Phone No. (/nc/ude Area Code)

 

 

 

Street Address City, State and ZtP Code

 

DATE(S) DlSCRlMlNAT|ON TOOK PLACE
Earliest Latest

RAcE |:] coLoR sex l::l RELrsroN I: NArloNALochrN 12-25-2016 12-25-2016
RETAL\ATioN AeE l::] olsABrLrTY |:j GENETrciNFoRMATloN

|::l OTHER (Specify) CONTINU\NG /-\CT|ON

DlSCRll\/llNATlON BASED ON (Check appropriate box(es).)

 

 

THE PART|CULARS ARE (If additional paper is needed, attach extra sheet(s)).‘

l am a female l have been employed by the Respondent since November16, 2015 as a Production
Associate. On August 12, 2016 lfiled EEOC Charge #494~2016-01743 based on race, color, age, sex and
retaliation against the Respondent. On August 24, 2016, l filed Charge #494~2016~01867 based on_disability
and retaliation against the Respondent. On November 28, 2016 l filed Charge #494-2017-00281 based on
sex and retaliation Cn December 25, 2016, Superintendent Chris l-lurt got too close to me and touched me
from behind. l complained to Supervisor Brian Claybrool< and Vice Presldent Debbie Radish-Repspree.

l believe that l have been discriminated against based on my race/Blacl<, sex/female, age/59, and retaliated
against, in violation of Title Vll of the Civil Rights Act of 1964, as amended, and the /-\ge Discrimination in

Employment Act of 1967, as amended

 

 

 
 
 

l want this charge filed With both the EEOC and the State or local Agency, if any. l

   
   
 

will advise the agencies if l change my address or phone number and l Wi|| !- .,
cooperate fully with them in the processing of my charge in accordance with their . y ` g §
procedures §§ 511/§§ '
/ . L
tto

 

l declare under penalty of perjury that the above is true and correct. the best of my knowled e<,é orrn
-::> .~
133 DEC 2 7 ZUlf:i

1 SUBSCR\BED AND SWQ N Q BEFORE ME THIS DATE " t 1 ' "
DeC 27, 2016 ///{ //l/\ W\_/ (month’ day' year) t ` . f

 
 

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EEoc Form 5 (11/09)
CHARGE OF D |SCR|]\/HNAT]ON Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act l:| FEPA
Statement and other information before completing this form.
EEoc 494-2017-00281
Tennessee Human Rights Commission and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrsi) Home Phone (lncl. Area Code) Date of Blrth
lVlrs. Carolyn A. Flul<er' (615) 689-5955 1957

 

 

 

Street Address C.ityl State and Z|P Code
3242 Spears Rd., Nashville, TN 37207

 

Named is the Employer, l_abor Organization, Employment Agency, Apprenticeship Committee, or State or Loca| Government Agency That l Believe
Discriminated Against l\/le or Others. (lf more than two, list under PART/CULARS below.)

 

 

 

 

Name _ ,No. Employees, Members Phone No. (Include Area Code)
CARLEX GLASS AllllERlCA, LLC . 15 - 100 (615) 350-5025
Street Address Clty, State and ZlP Code

7200 Centennial Blvd., Nashville, TN 37209

 

Name No. Employees, Members Phone No. (/nclude Area Code)

 

 

 

StreetAddress City, State and ZlP Code

 

DATE(S) DlSCRlMlNATlON TOOK PLACE
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l::l RAcE \::l coLoR sr=_x I::l REL\GloN m NATroNAL oRierN 1144-2016 11-22-2016
RETAuArioN \::\ AsE \:1 olsAsruTY ‘:] GENETrciNFoRMAnoN

l:l OTHER (Specify) CONT|NUING ACT|ON

THE PART|CULARS ARE (Ifadditional paper is needed, attach extra sheet(s)):
l was hired by the above~named employer on November 16, 2015 as a Production Associate. The company

employs fifteen or more employees.

DlSCRllVllNATlON BASED ON (Check appropriate box(es).)

 

 

On November12, 2016 l was subjected to unwelcome comments of a sexual nature by l\llarvin V\lebb, l
reported the situation to my employer on November 14, 2016. On November 22, 2016, l\llarvin VVebb made
some false allegations and l was sent home and suspended without pay.

l believe that l am being discriminated against because of my gender (female) and retaliated against for filing
an internal complaint of sexual harassment in violation of Title Vll of the Civil Rights Act of 1964, as

amended

 

 

 
  
    
   

 
         
 

 

 

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dates ‘~'" '“ esa §
lwant this charge filed With both the EEOC and the State or local Agency_ if any, l NOTARY - 5 's ': f _ Agency Requirements
will advise the agencies if l change my address or phone number and lwi|l _. . ~' k ' __
cooperate fully With them in the processing of my charge in accordance with their _. " , ,' = _ 4 . . v ., _ -.’\{§
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procedures' l sweai;gf _r`a irm that| have read the abc _=Rr?‘§~
l declare under penalty of perjury that the above is true and correct. the bee et£r§ry knowledge?i_r§onz@t{%n an § f.
srsNAf~_ _____ br cdtl@d,hwa __ `.-
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Date fCharging Party Signature '~"

 

 

 

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Nof necessary to fill rn enclosed space when Grievance
concerns Union Righfs ONLY

 

 

 

 

 

 

 

 

 

 

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Signed (Barg.aining CommiHee) ` §WO tikaka

Date Stamp Dispositlon Dlspo$t'HOn by_COmpany`

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(Signod) _
[Compatw`tteprosentatlv€)

 

 

 

Case s. 1 --cv OBQ%FS_DTUTnent_l_lEited~GZ/lS/l? Page 9 of 27 Page|D #: 9

All Grlevancas l\llust Be' ‘Date Stamped" by Company F\spresentatlve on Date Prssented ancl Dlsposed
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§§r!ex

a subsidiary of § CEBITRAL GlA$S

AGREEMENT

CarleX Glass Arnerica LLC (“Con:lpf:lriy3 ) and UAW Local 737 (‘ Um`on”-) agree to resolve
Grievance 91619A (the “Grieyance”) on the following terms

The Company does not agree that the Grievance has merit, and in particular does not agree
that it handled any previous oornplaint..of the Grievant, Carolyn Flul<er, imprc~'P-virly.

The Union submits that the Grievance has merit and that the Grievant should receive hach
Wages for 19, missed days.

After full discussion, the parties agree to resolve the Grievance by payment to the Grievant
of nine and one half days of bach Wages, calculated at eleven and one half hours per day at her
usual hourly rate.

This resolution is not considered precedential for any other grievance or dispute, Whether
currently pending Or arising in the future, and neither party Will use or attempt to use the resolution
of the Grievance in connection With any other grievance, arbitration, or dispute between the
Cornpany and the Union.

 

 

 

 

AGREED ro BY:\
Company Union

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§erreeiive Ae€ion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

gal-lax ' . Shift: Disposition By: Del McClure Date:
Corrective Action Report ', C 6/12/16
Employee ]]): 87 57 Ernployee Nalne: Carolyn Fl'ulc.er

Company Seniority: _ Classification: Production Associa’cel Dept: 2506

 

 

11/16/15 '

 

 

 

 

Present Charge: Repeatedly not being at Work station at assigned times

Penalty: Bala`nce of shift + a day Date Assessed: 6/12/16~6/13/16

 

Facts Supporting Charge:

A’c 8:30am the line Was down for repairs to the lamination Washer. Once the line Was operable, We
Were unable to start, because Ms. Fluker Was in not in position. Ms. Fluker Was found in the break
room. She Was instructed to come back to the line. Ms. Fluker has been coached and Warned on
several occasions to follow the break schedule and be tir_nely. Ms. Fluker has also been Warned of the

penalties of failure to do so.

 

 

Union It:<:l};). Date Of Discussion: .Employee Signature (If No):
Yeis No 6/12/ 16

 

 

 

 

 

Sup emsbrs§§»nawre d Union ;Rep Signature (lf one is Requested)
(;/

 

Labor Rela{ions Signature:

/} ' _ ) /
f -" "., ~
g ' ”\\ " g .i l-Supervisor, l- HR, 1- Union Rep

 

 

 

 

 

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f=/) in / l

 

November 3 0, 2016

CarleX Glass Plant

7200 Centennial Blvd.

Nashville, Tn. 37209

T@iephon@ (615)350~5026 er (615)350~7732 er (615)350_7789

Attention: Hal Musler (Vice President of Global Operations for CarleX Glass Company), Don
Fisher (Head Plant Manager), Debbie Radish-Respree (Vice President of Human Resource),
Christine Rocca Della (New Director of Human Resource Manager) and Elizabeth English
(l\/lanager of Human Resources) '

RE: SeX Harassment Advancement Complaint
Claimant: Carolyn Fluker
Respondent: Nikki Hambrick (aka Yoquana Hambrick)

l Carolyn Flul<er, reported the following SeXual Harassment claims as follovv'S:

March 6, 2016 - l Was transferred to the area Where Yoquanna Harnbrik “Niklci” has been
Worl<ing in for the past for years. On this same day, Nild<i told me that l had a nice body,
shape and booty, “you have a nice booty for your age”. Nil<l<i further bumped her booty
on my booty and hit me on the shoulder l told Nil<l<i to please get her hands off me. l
reported these incidents to my supervisor, Del l\/lcClure, my Lead, Brian Claybrool<,
Lead, Benjamin Stevens and Superintendent of CarleX Glass, Chris Hurt. Mr. Claybrook
told Nil<_l<i to “leave me alone”. lwas present When Mr. Claybrook told this to Nil<l<i. At
this time, Mr. Huit did not file aniincident report _ `

On April 1, 2016, l met With Human Resource (HR) l\/lanager, Cori Ritchie and Lairy
Griffery. l\/ls. Ritchie said she Would speak With Nild<i regarding this incident l\/ls. Ritchie
Wrote something down at that time. l asked for a copy of What l\/ls. Ritchie Wrote but 1 Was
refused On April 2, 2016, Nil<l<i apologized to me at Worl< about What she did.

On June 11, 2016, Nild<i again said to me that “l have a nice body” and that “rny breasts
are a nice size”. l told Nil<l<i that l do not Want to hear that. She made me feel
uncomfortable Nil<l<:i later asked me to see a movie. l then told Nil<l<i, 1 am not a
lesbian, l am married to a man. l told l\/lr. Claybrool< again and he again told Nikki to

leave me alone.

On July 2§», 2016, Nil<l<i Was sitting on a stool at Worl<, she then proceeded to lift up her
shirt and turned to face me While holding her shirt up showing me her gray bra and
stomach for about thirty (3 0) seconds. Company policy states that you have to Wear your
shirts tucked in and you must Wear a belt. l reported this incident on July 28, 2016 to l~lR

l\/lanager, Cori Ritchie.

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Gther co-workers have been treated similarly by Nikki. (Nicole l\/chissah (615) 397-295 5
and Rhonda Johnson.

On August 3, 2016, Carlex Glass started an investigation and 1 was told by HR that 1 was
being put on leave with pay while the investigation was ongoing Carlex ended my employment
pay on August 12, 2016. Carlex terminated my benefits and deactivated my lD badge.

Since 1 reported the sexual harassment incidents, l’ve been retaliated against by being sent
home continuously and wrongly written up under corrective actions.

l have been written up as per the following: (please see attached documents)

June 12, 2016 - Corrective Action: “Ai 8.'30a1n the line was down for repairs to the
laminaiz'on washer. Once the line was operable, we were unable z‘o start because Ms.
Fluker was not in position Ms. Fluker was found in the breakroorn. She was instructed
to coine back to the line. Ms. Fluker has been coached and warned on several occasions
to follow the break schedule and be iiinely. Ms. Fluker has also been warned of the
penalties of failure to do so. ” 1 was sent home for failure to be on the production line
during my assigned time. This was my 1St written warning

This was absolutely not true. l was on the line and 1 did not leave the line. This “incident”
was fabricated because just the day before this on June 11, 2016, l attempted to file another
sexual harassment claim against Nikki. That complaint was never written up by my
supervisor or HR. lnstead, they tried to punish me.

On July 14, 2016, 1 wrote a letter to Carlex Glass Plant and CCed: Human Right
Commision and Supervisor, Del l\/lcClure. "‘Please see attached

Gn luly 18, 2016, 1 wrote my own Complaint: against Yaquanna Hambrick CNikl<i). 1
addressed this to CarleX Glass Plant of Nashville. *Please see attached

On July 28, 2016, l filed a letter against Ms. Cori Ritchie regarding her trying to entrap
me to sign paperwork 1 didn’t agree to. *Please see attached

On August 5, 2016, l filed an Employee Suggestion Plan ldea Sharing Suggestion Form.
"‘Please see attached

On August 8, 2016, 1 was finally able to file a Charge of Discrimination against Nikki
and against my Supervisor, Leads and HR Managers who failed to protect me even
though they had ample notice of these allegations 1 filed on the basis of discrimination,
retaliation, sexual harassment and gender discrimination *Please see attached

On August 11, 2016, l wrote a letter regarding the meeting that was held in the corporate
office of the Vice President on this day between Tiine Change UAW #737, Bargain
Chairman Steve Cart, Vice President of Human Resources, Debbie Radish~Repress and
Human Resource l\/lanager, Cori Ritchie along with myself. *Please see attached

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o August 15, 2016 - Medical Note from Dr. lulie Donohue at Neighborhood Health.
“Carolyn Fluker is currently under my medical care and may not return to work at this
time. Please excuse Carolyn for 2 days. She may return to work on 8/] 7/]6. Activity is
restricted as follows.' None. *Please see attached

v August 1'6, 2016 - Medical Note from Dena Wampler, APN, 'PMHNP-BC at
Neighborhood Health, "I am a mental health provider that saw Carolyn Fluker in clinic
today. She was seen for increased anxiety and nightmares due to situational stressors at
work. She started medication today and will be seen back in clinic in two weeks Any
consideration you can give to extend her leave of absence would be greatly appreciated
*Please see attached

¢ Gn August 22, 2016, 1 filed a police report with the l\/letro Police Department regarding
Sexual Harassment in the work place. *Please see attached

v On August 24, 2016, l filed a Charge of Discrimination that was presented to the EEOC
regarding my mental disability due to all the sexual harassment from Nikki and the
retaliation from CarleX Glass America, LLC. *Please see the attached Charge of
Discrimination along with a letter from me.

¢ On August 25, 2016, a Union Grievance was filed for Unfair Penalty. “Ms. F luker was
placed on a paid leave of absence on 8/3/]6 pending investigation of sexual
discrimination charges T he unionfeels Mrs. Fluker should continue to be paid until her
doctor feels she is able to return to work due to the stress that was caused by this
situation and the way it was handled ” *Please see attached

¢ On August 25, 2016 a letter from HR Manager, Cori Ritchie was drafted regarding
Carlex‘ Glass America, LLC working something out with Carolyn should her FMLA not
be approved *Please see attached

¢ August 29, 2016 - Affidavit of Nicole l\/chessah ~ “Yaquana Hambriell, a femaile that
comes on to a lot of women here, especially the new women employees Nothing is said
or done. She has tried to get me to go out with her to Charlie Bob ’s. l said, No. A lot of
stujj” gets swept under the rug. lt depends on who you are. She also comes on to
Dridgette Anderson. She also went ojj‘ on her. Bridgette actually lost her job. *Please
see attached

o September 1, 2016 ~ l\/ledical Note from Dr. Lindsey Murkette at Neighborhood Health. `
- Mrs. Fluker would like to return to work on 9/7/16. *Please see attached

¢ September 7, 2016 - A “Notification Letter” from me to Cori Ritchie, Debra Radish-
Repess and Christie Oclaray (Director of Human Resources) regarding coming back to
work. *Please see attached Please also see theattach other five (5) letters written by me

on 9/7/ 16 for various reasons.

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¢ September 9, 2016 - Please see attached letter from me regarding getting information
from HR and returning to work and how HR is preventing me from and entrapping me to
get me fired

0 September 15, 2016 - Letter from CarleX denying my Fl\/ILA. *Please see attached

o Septernber 15, 2016 ~ 1 returned to work on 9/7/ 16 like 1 was supposed to but Cori
Ritchie sent me home and 1 have been out of work ever since, for no reason. *Please see

attached

~ September 19, 2016 - Union Grievance ~ “Mrs. Fluker has been on leave since 8/3/]6
while the company paid her through 8/]2/] 6. She has missed 19 regular scheduled days
of work The Union contends Mrs. Fluker missed work due to unnecessary stress caused
by the way the company handled her sexual harassment complaint charges T he Union
requests that Mrs. Fluker be paid all backpay and for her to be brought back to work on
9/22/] 6 on her regular scheduled shift”. *Please see attached

0 September 21, 2016 - Coirective Action Report for incident on (10/15/16) ~ Violation of
Company Policy - Walking Off Line/Stopping Production. AGAIN. . . .this is not true.

v September 24, 2016 ~ Union Grievance filed by the Union on behalf of Carolyn Fluker to
refute the Corrective Action Report for incident on 10/15/16. *Please see attached

¢ September 29, 2016 ~ Agreernent between Carlex Glass and the Union. *Please see
attached

1 have been made a fool out of, harassed embarrassed intimidated stressed humiliated and
picked on since l reported the first incident in l\/larch 2016. l have been seeing a psychiatrist

over these issues.

Sincerely,

Carolyn Fluker

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complaint 1 have done nothing wrong. 1 do my work, go home and come back to do my work
all over again. On September 22, 2016 1 walked outside on my break and noticed a funny smell
so 1 looked over and saw Superintendent, Chris Hurt and my Supervisor, Brian Claybrook and
several employees smoking marijuana l reported this to Human Resources, Elizabeth English
and to the Director of HR, Christina Rocca. As you can irnagine, absolutely NOTHING was
done about this. But oddly enough, l was written up again and sent home for some fabricated
reason. 1 am attaching a copy of every write-up 1 have received

This is not true for any reported violation of the company rules: 1 have been sent home 1une12,
2016, for reporting incident of the Sex Harassment Advancement on lunell, 2016. Another
incident happen on 7/25/2016 inapproiate behavioral occurred in the workplace the alleged
person pulled her shirt up in front of me exposing he body parts. August 3,2016 with pay
August 12,2016. Therefore 1 have not been paid the full 21 days missed from work, as the union
representative Steve Cart stated in the grievance on 9-19~2016 cause the Sex Harassment were
missed handled 1 was sent home on 9-7- 2016 by for not writing the letter in their favor. 10-15~
2016, 1 were sent home again by Superintendent Chrs Hurst , and Brian Claybrook
Superintendent on Fabrications, and both refused to call a union representative as 1 requested
before been sending me home, and my right was violated as a union member at that time, l’m
continue been retaliated sent home on 11/ 22/2016 on a Fabricated Write-up by both Leadership
authority team Superintendent (Chris Hurst) .

On November 17, 2016 1 reported a sexual harassment complaint to the Human Resource
Manager, Elizabeth English with the presence of Local UAW #737 representatives Larry
Griffey, and Steve Cart. Employee l\/larvin Webb made a comment to me out of nowhere that
made me very uncomfortable 1 am a married woman and l\/lr. Webb walked up to me and said
“Do you need a man?” Oddly enough (sarcasm), l\/lr. Webb'received no punishment for his
actions. This comment was made in front of Team Lead Lawanda Amison.

l have been forced to continue to work in close proximity to booth Nikki (Yoquana)
Hambrick and l\/larvin Webb. l have been made a fool out of, harassed embarrassed intimidated
stressed humiliated and picked on since 1 reported the first incident in l\/larch 2016. 1 have been
seeing a psychiatrist over these issues. 1 don’t understand how anyone could think that this type
of treatment is ok. 1 am appalled that these higher ranking “adults” in this company would
actually conform to work code violations instead of upholding them. 1n order to save myself and
my sanity, 1 switched shifts just to get away from the accused

On November 17, 2016 1 was asked by the HR Director, Christina Rocca and EEOC what
it would take to resolve these issues. To me this means, what will it take to shut me upl Again, 1
am appalled at these people who call themselves “adults”. l have been considered taking this
issue to Channel 2, Channel 4 and Channel 5 news. This type of treatment and cover-up is truly

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my supervisor, lfeel that my Corrective Active Action should be remove from my tile and it's a
setup for entrapment to prevent me from getting betterjobs and better Pay Within the
Company. | have great Character about myselt, | always been a possible person to help others
Within the plant or~ outside the plant, l'r_n' a friendly person and Willing to give good advice to
others. l\/lr. l\/|arvin Webb made an inapproiate Sex Harassment Comment Statement toward
l\/lrs Carolyn Flul<er Which she felt embarrass , intimidating,' and disrespectfu|, and violated the

Privacy Act against my Will in the vvorl<place.

Kind regard

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playing a huge negative role in my life. 1 have filed criminal charges of sexual harassment
against l\/ls. Hambrick with the l\/letro PD.

On September 7, 2016 1 was asked to write a letter stating 1 request to be transferred to
another shift. 1 wrote the letter saying that 1 accept the transfer they requested instead of saying
that 1 requested it, because 1 didn’t. So because of this, Human Resource l\/lanager, Cori Ritchie
and the Vice President of Human Resources, Debbie Radish-Respree brought me in the hallway
and surrounded me, they even held their arms out so that 1 couldn’t move, and stated how angry
and upset they Were that the letter was not written to their satisfaction 1 told them that 1 was not
changing the letter because 1 was not going to lie to appease them. Then, 1 went down and filed
harassment and bullying charges with l\/letro PD.

Even though 1 am on a different shift, Ms. Hambrick and 1 still overlap each other when
changing shifts. Ms. l-la;mbrick is still harassing and intimidating me. She is intentionally trying
to create a hostile work environment l emailed and reported this to the Director of Human
Resources, Christine Della. lt’s so stressful coming to work knowing that 1 am not protected
against this stuff and that even my superiors are joining in on it, lt’s despicable! !! l ll l l l l !!

1 shall be compensated by company all the time lost of working days missed from work
for the unnecessary behavioral in workplace by negatively employees, and by the Human
Resource l\/lanager, Elizabeth English, Placing me on a final basic on 10/15/2016 False
Reporting by Superintendent Chris 1-1urst and supervisor Brian Claybrook, as well as his
Nephew l\/larvin Webb release person who work in set -up. Which we are still working on the
same line WSl Night Shift. They keep writing me up to prevent me from get better lobs, and
more money, and me home on corrective Action on fabrications. The Human Resource l\/lanager
of Carlex Glass Company have put me under lots of stress and hardship in ways. Lost of income,
lack of sleep, and force been terminated for doing the right thing, following the Carlex company
Rules. l shall be compensated for the headaches, troubles that the company have put me
throught. 1 will be willing to settle this matter of a $15'0.000 dollars. And not to be continue
retaliated and removed the falsified corrective Active from my files and Chris Hurst ,should be
terminated for violating my right requesting a union member of the Local UAW#737 represent
which he stated he wasn’t. gonna call a union representatives And we don’t have a union on site,
and he email HR , 1 ask for a copy of the email that was sent to HR (Elizabeth English) l\/lanager.
Human Resource l\/lanager refused to handled Sex Harassment complaint in the Proper manner
according to the Carlex Glass Company Plant policy. We orientated on the policy during

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Carolyn Fluker - 0003175 - CARLEX GLASS AN|ERlCA, LLC

Employee Observations

carolyn Fluker lowest l

Add your comments

 

Visibility Private
Include in Review
Post

 

suit l oeiete

Carolyn F|uker Sald...
12/27/2016 8!58 PM

l carolyn Fluker ERT member at Carlex G|ass Plant of NASHV|LLE present at the time , l appreciate if someone would thank me
and Brian Claybrook for Saving a life at Carlex Glass P|ant on December 25,2016. on Christmas Day, l noticed an employee
became ill on the trim table. i yelled and got supervisor ERT Brian Clay brook

 

suit ' oelere

Carolyn F|uker Sald...
12/27/2016 8535 PM

On December 26,2016 @approximately G:OO am. l Carolyn Fluker, were a meeting With Vice-President of Human Resource at
Carlex Glass P|ant, and on the Phone With a former employee Christine De|la Rocca , and Union Representative l\/larsha| Griggs
discussing my wrongfully write-up by Christ Hurst (superintendent)'and refusing to comply with the union contract, and violated my
constitutional rights, The investigation was fraud ally done by lV|rs. Debbie Radishl and a none employee of carlex doing the
investigation secretly and off the clock. l\/ly supervisor Brian Claybrook informed me that IVlrs. Christine De|ia Left her Job on
12/20/2016 a week before 2Wks up. Nlrs. Debbie Radish are retaliating against me cause | filed a Bul|y Harassment

complaint against herl and Corti Ritchie with the l\/letro Police Department On September 8,,2016. also, on December 26,2016 l
reported to her about Chris Hurst standing behind me and touch me, which happen on December 25,2016 , lVly supervisor Brian
Claybrook told me to report it to the Human Resource Tuesday., l told christ Hurst him he was in my personal space and too close
and why.lHe jump back quickly. sex harassment

 

suit l oeiete

Carolyn F|uker Sald... VW d G'S WU/L

12/26/2016 2:34 AM

l Carolyn Fluker report an incident occurred on 12/25/22016 to my immediately supervisor Brian C|aybrook , that superintendent
Chris Hurst walk up in my personal space and rub against my butt , after i told him he was to closes than he jump back ll While i
was talking to my supervisor Brian Claybrook Face ~fo-face. Ne Ne who work over B crew she heard me tell Christ Hurst he was in
my personal space, and she witness the conversation Also, l didn`t even know He was behind me until i felt someone else body
part rub against me in my personal space that made me very uncomfortable, unwelcome and inappropriate behavorial, and

Sex Harassmeni in the workplacel |Vly supervisor Brian Claybrook Wiiness Christ Hurst envading into my personal space Christ
Hurst denied been in my Persona| Space.

 

Edit l Deiere

Carolyn Fluker Sald...
12/15/2016 12,'12 AM

Carolyn F|uker vacation day approved by Supervisor Brian Claybrook ( WSi) informed her verbal in the Lamination room on
12/15/2016 @approximately“lO:SOpm. another employee will work in my place in the lamination room on my vacation Day.

 

suit l oeieie
Carolyn Fluker Sald...

lz/Og/tfé%el’éq.i”t-cv-oozrs Document 1 Filed 02/13/17 Page 19 of 27 PagelD #: 19

 

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icarolyn Fluker @approx. 7:OOpm 12/09/2016 don't appreciate the team lead person l_awon armon on (A) crew call me an “Old Bat"
cause i wouldn't go home,and she had a era attitude toward me, l stated to her that Brian Claybrook didn’t put my vacation time in
the computer, and i didnt want anyone to put in the computer " No Ca|l No Show“

so she call Chris Hurst to put it in. and l agreed to stay to help them out on the line, cause W81 was short too. even those l have
ERT trianing in the morning. l'm working with l\/larvin Webb very surrounding area, and on the same line. |Vlarvin Webb found my
Credit Card, | made a Police report as well, nothing never done when employee report violate the company policy . but to retaliate
again the victim. twice Sex Harassment, reported nothing done to the alleged parties at work, just continue, l bid on a job get the
notice after the Due date. From 11/21/2016-Dec.7- 2016 received the notices of the bid job set-up, the supervisor Brian Claybrook
nor the superintendent( Chris Hurst )me of the two Bid Job in November 21,2016 But was sent home on Nov 22,2016 frame again.

 

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Carolyn Fluker Said...
12/09/2016 8557 PM

l Carolyn Fluker can to work on my vacation day 12/09/16,and for12/10/16 cause Brian Claybrook didnt process time off in the
computer, so, Chris Hurst said i can leave. i will return for Emergency Response Team Training on 12/10/2016 saturday

at 8:OOam. Also, l\/lrs. Fluker informed the union Representative(ll/larsha Griggs)@ 7:30pm about me leavel Chris Hurst Approval
before leaving. /she stated superintendent informed hertonight.

 

Edit § Delete

Carolyn F|uker Said...
12/08/2016 8.'32 PM

Dear l\/|rs. Christine Rocca (Director Human Resource , l Carolyn F|uker report to you by phone, pertaining to the missing lost Credit
Card at work.2 Emp|oyee inform me that Bran Claybrook Supervisor ofWSt, and l\llarvin Webb found the Credit Card but, never
return it to me while was at workl on Dec.2,2016 and made attempt process information from the card. Also., they inform l\llarvin
Webb known for taking other people property, They stated l\llarvin Webb tried to claim someone else $20.00 Doliars the person lost
at workl and another found it and ask who lost the money , that's when i\/larvin Webb claim like it's was his. But it found to be
another employee | reported the unwelcome Sex Harassment comment to E|izabeth English ( Human Resource l\/lanager) and
Director Human Resource l\/lanager. The 2employee reported to me in the break room about the missing Credit Card, continue

retaliation at work.

 

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Carolyn Fluker Said...
12/05/2016 10:56 PM

Attention: Ji|l Anderson temporarily l\/lanager, Vice President Hal, l\/lus|er of Carlex

Glass Plant Global , Don Fisher, Head PLant l\/lanager, Christine Rocca, Director Human Resource, Vice President Human
Resource l\/lanager Debbie Radish -Respress , | Carolyn F|uker are reporting an employee by the name of l\llarvin Webb found my
Credit Card in the plant with my name on it, but, never return it to me on December2l 2016, icall the bank , the bank at
approximately 12.:30 to stop the process in time. Earlier i saw l\llarvin Webb red card in his wallet showing it to Brian Claybrook
supervisor, wish that's his nephew, and we all works on the same line WSt

 

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Carolyn Fluker Said`..
11/30/2016 10!14 PM

To whom may concern , Please remove those falsify corrective Action from my fl|e, from the begining of the Sex Harassment
Complaint reporting l first report the incident to superintendent (Chris Hurst) and nothing done, and constant retaliated by him.

also , he wrote up falsify document on me, and given misleading to Human Resource manager (E|izabeth English)., to get me sent
home of his personal feeling, and not treating employees fair. He cover up important information and don't try to resolved problems
except sending you withhout pay. l need my back pay from the 4days plus overtime which i work on the following Thursday.date
10/15/2016. alsol He violated my constitutional right as union member l_ocal UAW#737 by denied me a union representative

present before sending me on 11/22/2016.

 

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l
Carolyn Fluker Said...
11/26/2016 5.'53 AM

To whom may concern, l Carolyn Fluker Witness supervisor Brian Claybrook yelling at Lurther Lewisl which was total disrespectful,
but, don't yell at his Nephrew (l\/larvin Webb) he can go anywhere outside the plant to the store, he don't monitor his breaks, nor
Joshua Gardner, disappear for hours pop-up at the end of shift. Several times, We need Nlr. Jessie Holme, for superintendent on
WSt night shift cause he respect the employees on the line as a whole team. Also, show appreication as well, Brian Claybrook
come down on employees in the lamination Room only. He take hisfrustraction on us. and retaliate against employees for speak
the true about his behavioral. l\/larvin Webb, report everything to himl but don't report the things he dol and get away with. You
can't report to the Superintendent (Christ Hurt) because he's going to back him in any Fabrication situation, whether he`s wrong or
right.

 

Edit l Delete

Carolyn Fluker Said...
11/26/2016 3.‘56 AM

On 11/23/2016 l\/lrs. Carolyn Fluker were wrongfully sent home again. By Christ Hurst and Brian C|aybrook, stating to the union
representative l\/iarsha Griggs that HR call theml stated to sent Carolyn Fluker home Brian C|aybrook let an low senority employee
work in my place also, she couldn‘t perform the whole duty of the job, she didn‘t know how to trim either. l was framed again, and
retaliated , intimidated, harassed again.

 

Edit l Delete

Carolyn Fluker Said. ..
11/26/2016 3.'42 AM

On 10/15/2016 l Carolyn Fluker request a union representative before been sent home, Christ Hurst superintendent and Supervisor
Brian Cla‘ybrook refused to call local union representative Christ Hurst stated l"m balancing my shift.and we don't have a union
representative on duties, which suppose to call a representative Also, he violated my Constitutional Right of law l\/ly grievance shall
be overturned to be pay my 4days plus overtime day on Thursday.

 

Edit l Delete

Carolyn Fluker Sald...
11/26/2016 1.'58 AM

| Carolyn Flukerl have inquired about been Cross~trained on the lehr, supervisor Bran Claybrook but he let some with less senority
trained lVly supervisor (Bran Claybrook more focus writing me up to provent from been qualify for and job, constantly Harassed by
Superintendent(christ Hurt) and Bran Claybrook only cause l reported the Sex Harassment to both in the workplace Also, l were
wrongful written-up on each incident of the, Sex Harassment reported incidentsl Since i reported the sex harassment l"ve been sent
home, every month started August-Z()t6-November~201G.Discrimnation aganist,, Retaliated, intimidated, and continue harassment,
and |m still working around the alleged Sex harassment advance by the two employees on the job, lVlarvin Webb (male) and
(Female) Nikki Hambrick.All the

Corrective Action should be discard from my nle. punishment for reporting violation on the Job.

 

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Carolyn Fluker Sald...
11/25/2016 9:53 PM

l Carolyn Fluker tried to report overlay to superintendent Chris Hurst, |Vlarvin Webb they was unconcern, l\llarvin Webb keep runing
back tell his uncle conflicted story to get Carolyn in trouble Brain Claybrook (supervisor) and Bran list to him, will not
communication witih me he pass information to others. He angry cause l report his Nephrew (l\/larvin Webb) making Sex
Harassment Comment toward l\/lrs. Carolyn Fluker. " Statlng Do l need a man" in the Workplace Chris Hurst will not be good
Candidate for Head Plant l\/lanager, We need an outside Human Resource l\/lanager. inorderto correct the problems around this
Plant.They dont follow the Carlex Policy

 

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Carolyn Fluker Sald...
11/22/2016 9{55 PM

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To Don Fisherl Head Plant l\/lanager,

l Carolyn Fluker are constantly been harass by my supervisor(Brain Claybrookl and Superintendent Christ Hurst their always
Plotting something everyweek, l have always been a dedicated employee,and a hard Worker , True i reported Sex Harasssment
against Brain Claybrook cousin, and he's retaliating aganist. lwhich this Harassment would stop.Theier not monitor any one else
behavioral but me . everyone have more priveledge than me, lm bringing Harassment Charges aganist both.

 

Edit § Delete

Carolyn Fluker Sald...
11/22/2016 9.'31 PM

To whom l\/lay Concerned, l carolyn Fluker report supervisor Brain Claybrook Not communicating with me as a teamplayer on the
linel He"s trying to intimidate me in everyway possible alone with christ Hurt watching me and not watching others employees l
been trying to communicate with Brain Claybrookl but his attitude toward me is so negative, only cause lm report to him defect
productsl He's yelling at me in front of others employeesl and he retaliating aganist as well, lfi tell him about the defect products he
tell me inform the set-person , continue yelling in front of these.lVlrs. Christine ask us to communicate among each others. but he
refused to do so. but focus on trying to entrape with write-up him Christ Hurst working aganist me and fabricate anything possible
l\/lission and vision is to send out Quality Glass of Carlex Glass. The supervisor are not monitoring the glass probably .l not done
anything wrong, its not professional when leadership employees not acting in good standard of the Company either.

 

Edit § Delete

Carolyn Fluker Said...
11/18/2016 5}45 AM

To whom it may concerned, l Carolyn Flukerl ask my supervisor Brain Claybrook to put time in for Thursday 11/17/2016, but he
refused , and he told let l-lR put my in! time go in on Saturday.for this week. Thankl lm still been a team playerfor the Company.

 

Edit § Delete

Carolyn Fluker Sald...
10/15/2016 7524 PM

To Human Resource , Don Fisherl Debbie Radish.

Brain Claybrook not been fair to people who work on his shift, he let overtime employee work where they wants to work and leave
Carolyn Fluker in the lamination room. l told him is sick and am going home.Joshu tell him where to put employees And joshu
don't nothing but clock~in and he;s not a team-player eitherl and Brain never tell Joshu to do anything all day he sat on the bench
outside He's retaliating against me Yetersday , Brain stated i was a good trimmer to the They New Supervisor Lee Washington . l
inform Brain that i was fell sick before i left work on 10/15/2016. Joshu creating a conflict on the shift , and mad cause he got

demoted of his positions,

 

Edit § Delete
Carolyn Fluker Said...
10/14/2016 11.-06 PM

To Don Fisher, Plant l\/lanagerl /Debbie Radish ~Respress Human Resource

l\/lr. Brain ClayBrook, is the best supervisor on WSt, he should be promoted to Superintendent, He"s knowledgeable and ,
dedicated to his job duties. He perform betterthan Superintendent Chris Hurt. WSt A~Crew night Shift. and met the production )

t t tisf the customers orders.inatimel deadline, dl¢'**' ”
quoeosa y y CcM/LM ~//€ grow MWWWW

 

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Carolyn Fluker Sald...
10/10/2016 10:33 PM

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To

Debbiie Radish ~Respress Vice President Human Resource / Union Representative Steve Cart UAW#737 l would like to be pay the
due balance owed to l\/lrs. Carolyn Fluker in the amount 1.370 .52 . l received the partial payment$1105.79 Grievance Payment
check stub. Thereforel l need my remaining balance owed to me from the 21 days missed from work . l didnt cause the hostile
environment in the work place Sex Harassment by employee Yoquana Hambrick.

contiune been retaliated., i reported Tim Chance been intoxicated on September 19,2016 meeting which he was unable to perform
his job as an union representative chairman person. l' need good representative get me the due balance of the settlement

payment .Thank you.l l didnt agree to the disposition that was never discussed with me before he signed anything documents . with
no notice,

 

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4/§?§1~£0//4'&/7§

November 14, 2016@ 6:05am
Carlex Glass Plant

7200 Centennial Blvd

Attention: Director Of Human Resource

Att`ention: Enoc Head Plant l\/|anager

 

Victim: Carolyn Fluker
Alleged Party: l\/larvin Webb
Al|egations against: l\/larvin Webb violation in the workplace Sex Harassment

Sex Harassments Comments incident: reported to Larry Griffey UAW#737. And Steve Cart
UAW# 737 , Human Resource l\/lanager (Elizabeth English) or Sissle English, whom was present
at the meeting on the above date and time

On the above date and time, l Carolyn Fluker report to the administration office (HR) in
reference to Employee l\/larvin Webb stating a 5exual Harassment Comment toward her
Quotedl ”You need A l\/lan" in the Workplace, in the present of a surrounding employee (Team
lead). So, l reported to the team lead, l couldn't report it the Supervisor Brain Clay brook cause
their related, and the superintendent Chris Hurts cover up everything too, later they both will
retaliated against you for following the policy'of Carlex Glass Plant, and fabricates something
on you cause they have that privileges The incident reports happens on November 12, 2016 @
approximately 9:OOarn or before the shift were over.

l ask the team lead why employee l\/larvin Webb so angry toward me, He always trying
to set me up for entrapment, he tell me go to break and then he leave before l get back> l
never been disrespectful toward him , nor any employee, ljust believe in been a team player,
and followed the Carlex Company Policy at all time. Sex Harassment Comment share not be
stated nor in the workplace at any time, and it against the company policy as well . And against
the code of ethic, and the TCA. The protectant work ethic. Even those l'm the only female in
the lamination room , and work with all male in the lamination room. l\/larvin webb, tried to
influence other to have a negative attitude toward me Also, he mad cause l wrote up a
statement on his uncle the supervisor of WSl night shift, and l\/larvin Webb feel like can tell
everybody What to do. And he constant trying toret_aliate against me any way possible, He” not

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something again was a"v'i`c')`lations with two other employee, but it's a problem. l ask her
can l have a copy of the narrative report that l\/lr. Del lVlcclure written, and ljust
received the copy of the Correction Action, july 28,2016. l ask her to remove it from my
HR file Statedt{ltl@§}.$$»ll£§is£&i'i thchie Therefore l been penalty for someone else

actions , which mean she not following the company policy.

On July 29, 2016 l report to work on my regular shift l started working trimming §
windshield glass, but night shift supervisor (Bran Clay Brool< ) He stop me for working
wanting to talk measking me go would l like work in Value Ad department l Stated No
because l have a Bid job, (Supervisor Tony) stated he didn’t know what going on and he
just filling for Del l\/lcClure while he's still on Vacation. l didn’t supposed to be moved off _
myjob again, and he threaten me with insubordination ifl didn’t go to EPB| line, and
tried to argue of coming on to employee Shawn Hicl<s Which he work in WSl line, l told
Bran that's fabricated as well. l stated to him l have done anything wrong either. Their
Constance trying to relatate against. He ask me to sign`a form, l stated l\lO. | haven’t
done anything wrong nor violate any rules. Bran is not my supervisor he work on night
shift, he settimg me up for entrapments. He's act like run the whole plant as the

- operator ( plant manager). l even told the plant manager bout Nikki Hambrick
behavioral as well. Chad Coffee and the team lead (Benjamini Steverson) didn’t report it
to HR was wrong for majuana(Weed ) in the plant', He pulled it from his back pack at

work on the premises. l told security, and HR l\/|anagr ofthe two employee

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orientation, and trainging before assigned to duties, And sigh off on the SeX Harassment Policy
and Watch videos of Worl< Place violation Policy.

If l report any incidents of the company violation , it get cover-up by Superintendent
Chris Hurst and the Human Resource Team. I’m still suffering With this continue Worl<ing With
the negative by both alleged party sex behavioral , Mai'vin Webb constant rolling his eyes, at
nic . But , lm. Still Woi‘l<ing in a hostile environment cause of the complaints

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been continue intimidated by received letter on 9/14/2016 in the mail from Cori Ritchie

contract Work for Carlex Glass Plant.

See Attachment

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Slgn€d £M”;,%\ wl Date ?j:///é

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